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                              UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                       WESTERN DIVISION
15
16   JENI PEARSONS, et al.,                    No. 2:23-cv-07952-RGK-MAR
17              Plaintiffs,                    LYNNE K. ZELLHART’S NOTICE OF
                                               MOTION AND MOTION TO DISMISS;
18                     v.                      MEMORANDUM OF POINTS AND
                                               AUTHORITIES
19   UNITED STATES OF AMERICA, et
     al.,
20                                             Hearing Date:   March 4, 2024
                Defendants.                    Hearing Time:   9:00 a.m.
21                                             Ctrm:           850
22                                             Honorable R. Gary Klausner
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 1                    NOTICE OF MOTION AND MOTION TO DISMISS
 2         PLEASE TAKE NOTICE that, on March 4, 2024 at 9:00 a.m. or as soon
 3   thereafter as they may be heard, Defendant Lynne K. Zellhart will, and hereby does,
 4   move this Court for an order dismissing the claims asserted against her by the First
 5   Amended Complaint. This motion will be made in the Roybal Federal Building and
 6   Courthouse before the Honorable R. Gary Klausner, United States District Judge, located
 7   at 255 East Temple Street, Los Angeles, CA 90012.
 8         Agent Zellhart brings this motion under Fed. R. Civ. P. 12(b)(6) on the following
 9   grounds:
10         1. Plaintiffs’ Bivens claims against Agent Zellhart fail because they arise in a new
11              context from the cases approved by the Supreme Court and special factors
12              counsel hesitation in extending Bivens to this new context;
13         2. Agent Zellhart is entitled to qualified immunity;
14         3. The statute of limitations bars Plaintiffs’ Bivens claims;
15         4. The United States has been substituted as defendant for Agent Zellhart
16              pursuant to 28 U.S.C. § 2679(d)(2); accordingly Agent Zellhart is no longer the
17              defendant to Plaintiffs’ state law claims in her individual capacity; and
18         5. Plaintiffs’ eleventh cause of action fails to state a claim upon which relief may
19              be granted, and to the extent it is construed to assert a Fifth Amendment claim,
20              it is barred for the same reason as the Bivens claims.
21         This motion is made upon this Notice, the attached Memorandum of Points and
22   Authorities, the concurrently filed Request for Judicial Notice, and all pleadings, records,
23   and other documents on file with the Court in this action, and upon such oral argument
24   as may be presented at the hearing of this motion.
25   ///
26   ///
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 1         This motion is made following the conference of counsel pursuant to Local Rule
 2   7-3 which was held on January 9, 2024.
 3
 4    Dated: January 16, 2024           Respectfully submitted,
 5                                      E. MARTIN ESTRADA
                                        United States Attorney
 6                                      DAVID M. HARRIS
                                        Assistant United States Attorney
 7                                      Chief, Civil Division
                                        JOANNE S. OSINOFF
 8                                      Assistant United States Attorney
                                        Chief, Complex and Defensive Litigation Section
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11
                                           /s/ Jasmin Yang
12                                      JASMIN YANG
                                        Assistant United States Attorney
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                                        Attorneys for Lynne Zellhart
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         U.S. Private Vaults (“USPV”) was a safe deposit box business that rented boxes
 4   anonymously and did not require customers to provide any form of identification. See
 5   Order re Court Trial in Snitko v. United States, 2:21-cv-04405-RGK-MAR (“Snitko”)
 6   Dkt. 140, attached to the concurrently filed Request for Judicial Notice (“RJN”) as Ex. 1
 7   at 002-003. Due to USPV’s anonymity, its boxes were “regularly used by unsavory
 8   characters to store criminal proceeds, a fact both known to and desired by USPV’s
 9   principals.” Id. at 003. The government investigated USPV, eventually indicted it, and
10   obtained and executed a warrant to seize its nest of safe deposit boxes.
11         Although all other items seized from their safe deposit box were returned, Jeni
12   Pearsons and Michael Storc (“Plaintiffs”) bring claims for money damages against FBI
13   Agent Lynne Zellhart, in her personal capacity, concerning $2,000.00 in cash that they
14   claim the FBI had also seized from their box but failed to return.
15         Plaintiffs’ Bivens claims against Agent Zellhart fail because they arise in a new
16   Bivens context the Supreme Court has never approved, and because special factors
17   counsel against this Court extending implied constitutional tort liability to that new
18   context. See Egbert v. Boule, 596 U.S. 482 (2022). Agent Zellhart is also entitled to
19   qualified immunity, since it was not clearly established that her alleged actions were
20   unconstitutional, as evidenced by the Court’s holding in Snitko that the government did
21   not exceed the scope of the warrant. See Snitko Dkt. 140, RJN Ex. 1 at 13.
22         Plaintiffs’ non-Bivens claims must also be dismissed. Via the Attorney General’s
23   certification pursuant to 28 U.S.C. § 2679(d)(2), the United States has been substituted
24   as the defendant for those claims in place of Agent Zellhart. These claims are barred by
25   the Westfall Act, and the United States is the only proper defendant. Finally, Plaintiff’s
26   “as applied” Fifth Amendment claim fails to state any cognizable claim.
27         Because these legal defects are incurable, Plaintiffs’ claims against Agent Zellhart
28   should be dismissed with prejudice.
                                                  1
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 1   II.     STATEMENT OF FACTS
 2           A.    USPV’s Indictment and Warrant Application
 3           USPV was a safe deposit box facility that differed from traditional safe deposit
 4   box company in that it had longer hours of operation than most banks, allowed
 5   customers to access the vault with biometric scanners, and provided enhanced security
 6   and privacy by, among other things, providing keys to safe deposit boxes only to
 7   customers (and not to USPV employees). FAC ¶¶ 17-20.
 8           On March 9, 2021, USPV was indicted for money laundering and drug trafficking.
 9   FAC ¶ 33. On March 17, 2021, the United States submitted applications to Magistrate
10   Judge Steve Kim for search and seizure warrants. Snitko, Dkt. 122-3, RJN Ex. 2 at 018.
11   The warrant application identified, among other items to be seized: “Nests of safety
12   deposit boxes and keys, and documents and records referring or relating to them since
13   2019.” Id. at 022. The warrant application also stated:
14           In seizing the nests of safety deposit boxes, agents shall follow their written
15           inventory policies to protect their agencies and the contents of the boxes.
16           Also in accordance with their written policies, agents shall inspect the
17           contents of the boxes in an effort to identify their owners in order to notify
18           them so that they can claim their property;
19   Id. at 023. Agent Zellhart signed the affidavit in support of the warrant application. FAC
20   ¶ 34.
21           Plaintiffs allege that Agent Zellhart “misled the magistrate judge about the
22   government’s plans to seize the contents of the boxes for forfeiture” and that she
23   “supervised and instructed the Search Defendants to conduct an unlawful search of
24   [their] box under the guise of the inventory doctrine and conducted the purported
25   inventory in a way that exceeded the express limitations in the warrant and was instead a
26   pretext for an investigatory search of the box.” FAC ¶¶ 156-157.
27           B.    Plaintiffs’ Box at USPV
28           Plaintiffs rented box 4301 at USPV. FAC ¶ 21. Plaintiffs allege that prior to the
                                                    2
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 1   seizure, box 4301 contained $2,000 in cash, $20,000 in silver, and personal documents.
 2   FAC ¶ 32.
 3          On March 22, 2021, the United States executed its search and seizure warrant at
 4   USPV and seized the nest of safe deposit boxes. FAC ¶ 52. Plaintiffs allege they filed a
 5   claim with the FBI for their property on April 19, 2021. FAC ¶ 77. Plaintiffs allege they
 6   received Notices of Seizure of Property and Initiation of Administrative Forfeiture
 7   Proceedings dated May 21, 2021 but subsequently learned on August 16, 2021 that the
 8   government was abandoning its efforts to forfeit the property. FAC ¶¶ 79, 81. The
 9   United States’ list of seized inventory does not list $2,000 in cash from this box. FAC
10   ¶ 74. Plaintiffs allege that the government returned all of their silver, but that $2,000 in
11   cash was also taken and never returned by the government. FAC ¶¶ 82-83.
12   III.   ARGUMENT
13          A.    Plaintiffs’ Bivens Claims Fail Because They Arise in a New Bivens
14                Context And Multiple Special Factors Counsel Hesitation Against
15                Extending Implied Constitutional Tort Liability
16          Bivens remedies are the product of what the Supreme Court has called an “ancien
17   regime” where it “would imply causes of action” not present in the text of a law. Ziglar
18   v. Abbasi, 137 S. Ct. 1843, 1855 (2017). In the forty years since the original Bivens case,
19   the Court has “consistently rebuffed requests to add to the claims allowed under Bivens.”
20   Hernandez v. Mesa, 140 S. Ct. 735, 743 (2020). Even in a “conventional” Fourth
21   Amendment case, with “almost parallel” allegations to Bivens itself, the Supreme Court
22   now instructs courts to apply a special factors analysis, asking whether “the Judiciary is
23   at least arguably less equipped than Congress to weight the costs and benefits of
24   allowing a damages action to proceed.” Egbert, 596 U.S. at 492. Applying that analysis
25   “in most every case,” the Supreme Court stressed, leads to the same result: “no Bivens
26   action may lie.” Id. Egbert was reinforced in this Circuit in Mejia v. Miller, 61 F.4th 663,
27   669 (9th Cir. 2023) (“Under Egbert, rarely if ever is the Judiciary equally suited as
28   Congress to extend Bivens even modestly.”). “Essentially then, future extensions of
                                                   3
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 1   Bivens are dead on arrival.” Harper v. Need, 71 F.4th 1181, 1187 (9th Cir. 2023).
 2         A plaintiff now only has two narrow paths to pursuing a Bivens action. If a
 3   plaintiff establishes that their claim qualifies as one of “the three Bivens claims the Court
 4   has approved in the past,” then the Bivens claim may proceed (subject to other defenses).
 5   Abbasi, 137 S. Ct. at 1860. Alternatively, if the claim arises in a new context, a plaintiff
 6   must then establish that there are no “special factors [that] counsel[] hesitation” before a
 7   court may imply a new cause of action. Id. at 1857. Plaintiffs cannot establish a viable
 8   Bivens claim through either path here.
 9                1.     This Court Has Already Dismissed Nearly Identical Bivens Claims
10                       Against Agent Zellhart
11         This Court has already dismissed nearly identical Bivens claims against Agent
12   Zellhart in Louis Loe v. United States, 2:21-cv-03348-RGK-MAR (“Louis Loe”) Dkt. 76,
13   attached as Exhibit 3 to the RJN. The Court found nearly identical claims against Agent
14   Zellhart would extend Bivens to a new context and that special factors counseled against
15   such an extension of Bivens to this situation. Louis Loe, Dkt. 76, RJN Ex. 3 at 144. The
16   same result is warranted here.
17                2.     Plaintiffs’ Bivens claims present a new context.
18         Whether a claim presents a new context depends on whether the case is “different
19   in a meaningful way from previous Bivens cases decided by th[e] [Supreme] Court.”
20   Abbassi, 137 S. Ct. at 1859. This requires a comparison with the only three cases in
21   which the Supreme Court has previously recognized a Bivens remedy: Bivens v. Six
22   Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971); Davis v.
23   Passman, 442 U.S. 228 (1979); and Carlson v. Green, 446 U.S. 14 (1980). Because
24   search and seizure are primarily at issue “[t]he most analogous Supreme Court case”
25   here “is Bivens itself.” Quintero Perez v. United States, 8 F.4th 1095, 1104 (9th Cir.
26   2021). But “coming closest” is still a far cry from “exactly mirror[ing] the facts and legal
27   issues[.]” Farah v. Weyker, 926 F.3d 492, 498 (8th Cir. 2019). Even a case with
28   “significant parallels to one of the [Supreme] Court’s [three] previous Bivens cases,” or
                                                   4
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 1   a case presenting just a “modest extension” of one of them, “is still an extension” into a
 2   new context. Abbasi, 137 S. Ct. at 1864.
 3         Plaintiffs’ claims against Agent Zellhart directly implicate several of the
 4   meaningful differences set forth by the Supreme Court. Foremost, the type of injury is
 5   different. Unlike in Bivens, where the plaintiff was personally subjected to a warrantless
 6   search, seizure, and arrest that resulted in “humiliation, embarrassment, and mental
 7   suffering,” 403 U.S. at 389-90, here, Plaintiffs were never personally seized or arrested.
 8   Rather, their alleged Fourth Amendment injury is confined to a property interest in a
 9   safe-deposit box in a strip-mall. See FAC ¶¶ 21, 32. The degree and kind of injury is
10   radically different than the injury at issue Bivens.
11         The mechanism of injury also presents a new context. Bivens concerned a
12   warrantless search from “stem to stern.” 403 U.S. at 389. Here, the claims focus on a
13   warrant—which was allegedly invalid for a variety of reasons—and the procedures for
14   handling seized property. See Annappareddy v. Pascale, 996 F.3d 120, 135 (4th Cir.
15   2021) (finding new context because “Bivens involved [] the Fourth Amendment right to
16   be free of unreasonable warrantless searches and seizures; [whereas] this case, by
17   contrast, involves searches and a seizure conducted with a warrant”) (emphasis in
18   original). This difference not only establishes a new context by itself, but also reveals yet
19   another meaningful difference from Bivens—significant attenuation between the
20   individual defendant and the ultimate injury, an attenuation which was absent from
21   Bivens. See also Ahmed v. Weyker, 984 F.3d 564 (8th Cir. 2020) (steps between
22   allegedly fabricated warrant and execution involved “independent legal actors” and thus
23   the “direct causal chain [present in Bivens] is missing.”); Cantu v. Moody, 933 F.3d 414,
24   423 (5th Cir. 2019). The same holds true here.
25         Plaintiffs allege that Agent Zellhart, “participated in securing and implementing a
26   warrant that misled the magistrate judge about the government’s plans to seize the
27   contents of the boxes for forfeiture” and “misrepresented the true scope of the searches
28   Defendants intended to conduct. . . .” FAC ¶¶ 156, 194. “This indirect mechanism of
                                                   5
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 1   injury bears little resemblance to the straightforward claims from Bivens.” Farah, 926
 2   F.3d at 499.
 3         Plaintiffs’ inventory search theory similarly presents a new context. Plaintiffs
 4   allege that it was always the government’s plan to “seize the contents of the boxes for
 5   forfeiture and to search for evidence to support the forfeitures.” FAC ¶ 156. This theory
 6   implicates an alleged large scale government operation with numerous actors that had
 7   various levels of involvement with inventorying hundreds of boxes. Not only does the
 8   theory present an “indirect mechanism of injury,” it is also far more complicated than
 9   “the straightforward claims from Bivens.” Farah, 926 F.3d at 499.
10                  3.   Special Factors Counsel Against Judicially Implying a Bivens
11                       Remedy
12         The ultimate question of the special factors analysis is which branch of
13   government – the judiciary or Congress – is best equipped to “decide whether to provide
14   for a damages remedy . . . .” Egbert, 596 U.S. at 492. Egbert instructs courts to consider
15   “whether there is any rational reason (even one) to think that Congress is better suited to
16   weigh the costs and benefits of allowing a damages remedy to proceed. Id., 596 U.S. at
17   496. “If there is even a single reason to pause before applying Bivens in a new context, a
18   court may not recognize a Bivens remedy.” Id. at 492. “[E]ven a single sound reason to
19   defer to Congress is enough to require a court to refrain from creating such a remedy.”
20   Id. at 491. Plaintiffs’ allegations implicate several textbook “sound reasons” to hesitate
21   and for the Court to “refrain from creating” the Bivens remedies Plaintiffs request.
22                       a.    Plaintiffs have alternative procedures for relief.
23         In Abbasi, the Supreme Court held that “the existence of alternative remedies
24   usually precludes a court from authorizing a Bivens action.” Id. at 1865. “‘[A]lternative
25   remedial structures can take many forms, including administrative, statutory, equitable,
26   and state law remedies.” Vega v. United States, 881 F.3d 1146, 1154 (9th Cir. 2018). The
27   FTCA is but one alternative remedial structure that counsels against an extension of
28   Bivens. See, e.g., Bivens. Gray v. Jenkins, 2023 WL 5941751, at *7 (C.D. Cal. July 17,
                                                  6
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 1   2023); Prescott v. United States, 2022 WL 1051081, at *4 (C.D. Cal. Mar. 7, 2022).
 2         Concurrent with their claims against Agent Zellhart, Plaintiffs have brought
 3   several claims under the FTCA. See FAC ¶¶ 95-133. Plaintiffs have also brought claims
 4   under the Little Tucker Act. FAC ¶¶ 134-151. These alternative remedial avenues
 5   counsel against extending Bivens to this context.
 6         Furthermore, suppression of evidence is another remedy available when the
 7   government unlawfully seizes evidence, although Plaintiffs here were not charged with
 8   any crime as a result of the seizure. Instead, Plaintiffs contend that Agent Zellhart should
 9   be held liable because she allegedly facilitated the unlawful seizure of evidence. But the
10   fact that Plaintiffs do not have the exact type of remedy available that they would prefer
11   for that alleged wrong—recovering tort damages from Agent Zellhart—does not mean
12   that there are no remedial processes available for the asserted wrong itself, an unlawful
13   seizure.
14         In Mejia v. Miller, the ability to report misconduct of a Bureau of Land
15   Management Employee to its Office of Inspector General constituted the existence of an
16   alternative administrative remedy that foreclosed Bivens relief. 61 F.4th 663, 669 (9th
17   Cir. 2023). See also Egbert, 596 U.S. at 497-98 (Border Patrol’s investigation and
18   grievance procedures provided alternative remedy). Similarly, here, Plaintiffs’ ability to
19   submit a complaint to the Department of Justice’s Office of Inspector General 1
20   concerning Agent Zellhart’s allegedly wrongful conduct, is yet another alternative
21   administrative remedy that discourages the extension of Bivens to a novel context.
22                         b.    Bivens precludes holding Agent Zellhart Responsible for FBI
23                               Policy.
24         A “Bivens action is not ‘a proper vehicle for altering an entity’s policy.’” Abbasi,
25   137 S. Ct. at 1860. Such claims still require hesitation if they “call into question the
26   formulation and implementation of a general policy[.]” Id.; see Lanuza v. Love, 899 F.3d
27
28         1
                See https://oig.justice.gov/hotline/submit_complaint
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 1   1019, 1028 (9th Cir. 2018) (“special factors include . . . whether Bivens is being used as
 2   a vehicle to alter an entity’s policy”).
 3         Plaintiffs’ claims against Agent Zellhart do just that and counsel hesitation.
 4   Plaintiffs take issue with Agent Zellhart’s “one-time search procedures for the USPV
 5   boxes” (FAC ¶ 51) and assert that the government should have created more
 6   “meaningful inventories” of the safety deposit box contents (FAC ¶ 59) and should have
 7   left the boxes locked (FAC ¶ 61). They allege that Agent Zellhart “created instructions
 8   for searching the boxes that were calculated to uncover evidence to support forfeitures at
 9   the expense of safeguarding the contents.” FAC ¶ 181.
10         Plaintiffs’ allegations evidence an attempt “to alter an entity’s policy” because
11   they seek to force the FBI to conform to revised policies Plaintiffs deem appropriate.
12   Plaintiffs’ claims would require inquiry into discussions ranging from the best method
13   for effectively inventorying the boxes (Fourth Amendment) to how the FBI’s procedures
14   for handling seized property fulfill its goal to seize criminal proceeds and return non-
15   criminal property (Fifth Amendment). Plaintiffs’ attempt to change these policies
16   counsels hesitation.
17                       c.     Plaintiffs’ Bivens action would cause disruptive intrusion into
18                              the Executive Branch.
19         Plaintiffs take issue with multiple steps taken in a large criminal investigation and
20   prosecution into a complex criminal scheme. In demanding that implied tort liability be
21   extended against an individual federal agent, they complain that the warrant, the search
22   of their box, the procedure for claiming box contents, and the retention of box contents,
23   were all unconstitutional. See FAC ¶¶ 188-219. But the inherent factual complexity of
24   each theory risks “burdening and interfering with the executive branch’s investigative
25   and prosecutorial functions.” Farah, 926 F.3d at 500. The Fourth Circuit
26   (Annappareddy), the Fifth Circuit (Cantu), and the Eighth Circuit (Weyker & Ahmed) all
27   recognize that this is an “intrusive” interference into “sensitive functions of the
28   Executive Branch” that courts must avoid. Abbasi, 137 S. Ct. at 1861. The problem is
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 1   particularly severe because Bivens claims would impose implied tort liability against an
 2   individual federal officer (with a jury trial right, no less) into those executive functions,
 3   impacting and determining them, as opposed to normal judicial review (as with, for
 4   example, a request for evidentiary suppression).
 5         The complexity of the case magnifies this inquiry. The government has alleged
 6   that USPV was a criminal business which engaged, in among other things, money
 7   laundering and drug trafficking.” FAC ¶ 33. The suspected scheme involved numerous
 8   actors and entities executing a plan sophisticated enough to skirt federal banking laws.
 9   See Snitko Warrant Application, RJN Ex. 2 at 034, 087-092. Just as in Cantu, where the
10   fact that the case involved a “multi-jurisdictional investigation into transnational
11   organized crime” counseled hesitation against extending a Bivens remedy, so too here
12   does the expansiveness of the USPV investigation counsel hesitation. 933 F.3d at 424.
13         Plaintiffs’ claims against Agent Zellhart necessarily constitute an intrusion into
14   law enforcement operations that reflect choices about how to securely and efficiently
15   inventory property, and hesitation in expanding Bivens to this novel context is warranted
16   for this reason as well.
17                       d.     Existing legislation suggests that the absence of a monetary
18                              remedy against individuals under the circumstance alleged is
19                              more than inadvertent.
20         Finally, the absence of a damages remedy against federal officers under these
21   circumstances does not mean that one should be authorized here. Rather, “congressional
22   silence might be more than ‘inadvertent.’” Abbasi, 137 S. Ct. at 1862 (citation omitted).
23   In Farah, which concerned allegations that an investigator falsified evidence, the Eighth
24   Circuit explained this inference in the context of statutes intended to compensate
25   wrongly convicted defendants. See Farah, 926 F.3d at 502 (citing to the Hyde
26   Amendment for baseless prosecutions, and 28 U.S.C. § 1495 and 28 U.S.C. § 2513 for
27   unjust convictions). Such statutes cut against creating a cause of action for defendants
28   aggrieved by improper investigations, but not convicted. Id. It reasoned “that Congress
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 1   has expressly provided a damages remedy for some victims of this particular type of
 2   injury, but not for others, suggests that it considered the issue and made a deliberate
 3   choice” not to compensate those others. Id. That reasoning applies in this case as well.
 4   “Congress’ failure to provide a damages remedy” for those claiming damage from
 5   criminal investigations but who are not convicted “might be more than mere oversight,
 6   and that congressional silence might be more than ‘inadvertent.’” Abbasi, 137 S. Ct. at
 7   1862. Accordingly, because “Congress might doubt the efficacy or necessity of a
 8   damages remedy” in this case, this Court should “refrain from creating the remedy.” Id.
 9   at 1858.
10         B.     Agent Zellhart Is Entitled to Qualified Immunity
11         For the reasons stated above, the Court should not recognize a Bivens claim in this
12   case. But if the Court were to recognize such a claim, Agent Zellhart would be entitled to
13   qualified immunity. “Qualified immunity gives government officials breathing room to
14   make reasonable but mistaken judgments about open legal questions.” Ashcroft v. al-
15   Kidd, 563 U.S. 731, 743 (2011). It does so by insulating government officials “from
16   liability for civil damages insofar as their conduct does not violate clearly established
17   statutory or constitutional rights of which a reasonable person would have known.”
18   Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).
19         To be clearly established, a legal principle must be settled law, and it must clearly
20   prohibit the officer’s conduct in the particular circumstances before him[.]” District of
21   Columbia v. Wesby, 138 S. Ct. 577, 581 (2018) (emphasis added). To determine whether
22   an officer’s conduct violates clearly established law, the formulation of the conduct
23   “must be particularized to the facts of the case.” White v. Pauly, 137 S. Ct. 548, 552
24   (2017) (per curiam) (citation and quotations omitted). As set forth below, Agent Zellhart
25   is entitled to qualified immunity because it was not clearly established under the specific
26   circumstances alleged here that Plaintiffs’ constitutional rights were violated.
27
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                                                  10
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 1                1.     Plaintiffs fail to allege a claim for judicial deception against Agent
 2                       Zellhart.
 3         Plaintiffs allege that Agent Zellhart engaged in judicial deception because she
 4   “misrepresented the true scope of the searches Defendants intended to conduct and failed
 5   to disclose the plan to search the boxes for forfeitable property and for evidence to
 6   support the forfeitures.” FAC ¶ 194. “To overcome qualified immunity on a judicial-
 7   deception claim, a plaintiff must 1) make a substantial showing of [an officer’s]
 8   deliberate falsehood or reckless disregard for the truth and 2) establish that, but for the
 9   dishonesty, the [issuing of the warrant] would not have occurred.” Finkelstein v. Jangla,
10   816 F App’x 98, 101 (9th Cir. 2020) (citation and quotations omitted). Plaintiffs fail to
11   meet both prongs.
12         This alleged omission fails show a reckless disregard for the truth because
13   including it would have no bearing on “the inferences a magistrate will draw.” See
14   Liston v. Cnty. of Riverside, 120 F.3d 965, 973 (9th Cir. 1997), as amended (Oct. 9,
15   1997). Plaintiffs’ allegations concerning the government’s “true plan” to conduct
16   forfeiture proceedings on some of the property in the USPV boxes cannot bear upon the
17   probable cause determination. This regards the government’s alleged intent to implement
18   a future plan, as opposed to relating past observations of USPV. The “true plan” theory
19   also fails to qualify as a deliberate falsehood because, as Plaintiff concedes, the
20   government set forth an inventory process which it did perform. That the process later
21   evolved into forfeiture proceedings for some owners was not a deception because the
22   affidavit never made any claim to the contrary.
23         Even if all of the alleged omissions were included in the affidavit, probable cause
24   would still lie. As the Court already held:
25         … the omission of the Government’s forfeiture preparations did not
26         ‘create[] [a] false impression. The affidavit was rife with details of prior
27         investigations into individual USPV boxholders that resulted in forfeiture
28         and it noted that the agents executing the warrant would inventory the
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 1          contents of all individual boxes. Any reasonable magistrate would have
 2          inferred that the inventory could lead to the potential discovery of criminal
 3          proceeds in certain boxes, which would then lead to forfeiture.
 4   Snitko, Dkt. 140, RJN Ex. 1 at 015-016.
 5          The omission of the Government’s forfeiture preparations did not ‘create[] [a]
 6   false impression’ or diminish the “fair probability” that USPV’s boxes were evidence of
 7   a crime. This remains particularly so given the sheer scope of the criminality that the
 8   affidavit sets forth in detail.
 9                 2.     It was not clearly established that the inventory search was
10                        unconstitutional.
11          The inventory search alleged in this case also did not violate clearly established
12   law. The Court has already found that: (1) the inventory search did not violate the Fourth
13   Amendment; (2) that Plaintiffs failed to prove that the inventory search was pretext for
14   an impermissible investigatory motive; and (3) that the government did not exceed the
15   bounds of the warrant. Snitko, Dkt. 140, RJN Ex. 1 at 014. The Court similarly already
16   found that the government had not violated the Fourth Amendment in its warrant
17   application and that omitting the fact that investigators were making preparations to
18   forfeit the seized property did not detract from its showing of probable cause for the
19   USPV warrant and that the government had not exceeded the warrant’s requirements. Id.
20   at 015-016. Agent Zellhart’s affidavit states that the FBI would follow its written
21   inventory policies to protect the agency from claims of theft or damage and that the
22   agents would seek to identify the owners of the property and preserve the property for
23   safekeeping. FAC ¶¶ 39-40.
24          While Plaintiffs may argue that the Ninth Circuit might eventually reverse such
25   holdings and find that the inventory search was unconstitutional, that future possibility
26   does not negate the fact that, at the time of the search, it was not “clearly established”
27   that it was unconstitutional. Should the Ninth Circuit make such a future ruling, it would
28   do nothing to defeat the application of qualified immunity, and would instead illustrate
                                                  12
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 1   why it facially applies—the law was still uncertain on the date at issue.
 2         Plaintiffs’ unadorned allegation that the search was in fact a “pretext for
 3   conducting an investigatory search” cannot save their claim. FAC ¶ 103. In United States
 4   v. Bowhay, 992 F.2d 229 (9th Cir. 1993), the plaintiff made a similar argument when an
 5   officer admitted that he “viewed [a] search as both an investigative and as an inventory
 6   search[.]” Id. at 231. However, the court still held that “the presence of an investigative
 7   motive [did] not invalidate the inventory search.” Id. It reasoned that because “the
 8   department’s policy was to search everything[,] the officer had no discretion” and thus
 9   his motive was beside the point. Id. This case is no different. Plaintiff alleges that the
10   inventory procedure involved opening all boxes seized. FAC ¶ 57. More to the point, it is
11   clearly established that motive is irrelevant under these circumstances. “[T]he Supreme
12   Court has not required an absence of expectation of finding criminal evidence as a
13   prerequisite to a lawful inventory search …[M]otivation [] cannot reasonably disqualify
14   an inventory search that is performed under standardized procedures for legitimate
15   custodial purposes.” United States v. Lopez, 547 F.3d 364, 372 (2d Cir. 2008) (citations
16   omitted).
17         C.     The Statute of Limitations Bars Plaintiffs’ Bivens Claims against Agent
18                Zellhart
19         “Federal law determines when a Bivens claim accrues, [and] the law of the forum
20   state determines the statute of limitations for such a claim.” Valadez-Lopez v. Chertoff,
21   656 F.2d 851, 857 (9th Cir. 2011) (quoting Papa v. United States, 281 F.3d 1004, 1009
22   (9th Cir. 2002)). A claim accrues when the plaintiff knows or has reason to know of the
23   injury.” W. Ctr. for Journalism v. Cederquist, 235 F.3d 1153, 1156 (9th Cir. 2000). In
24   California, the statute of limitations for Bivens claims is two years. Green v. Tennessee
25   Valley Auth., 2006 WL 8439729 at *1 (C.D. Cal. Apr. 21, 2006) (“The Ninth Circuit
26   applies the state statute of limitations for personal injury to Bivens claims. In California
27   the statute of limitations for personal injury is currently two years.”).
28         Plaintiffs’ claims against Agent Zellhart are barred by the statute of limitations.
                                                   13
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 1   Plaintiffs allege that: (1) Agent Zellhart made statements in her affidavit in support of
 2   the government’s warrant application on March 17, 2021 (FAC ¶¶ 34-35); (2) the
 3   warrant was executed and the nest of safe deposit boxes were seized on March 22, 2021
 4   (FAC ¶ 52); (3) during the week of March 22, 2021 their box was broken into (FAC
 5   ¶ 68); and (4) they submitted a claim to the FBI for the return of their property on April
 6   19, 2021 (FAC ¶ 77). Plaintiffs’ claims against Agent Zellhart are time-barred as
 7   Plaintiff filed this action on September 22, 2023.
 8         D.     Plaintiffs’ State Law Tort Claims Against Agent Zellhart Must Be
 9                Dismissed Because The United States Is The Only Proper Defendant.
10         The United States has filed a Notice of Substitution for Agent Zellhart pursuant to
11   28 U.S.C. § 2679(d)(2), certifying that she was acting within her scope of federal
12   employment relative to the claims alleged. In a civil action against a federal employee,
13   the United States Attorney General may certify that the employee was acting in the
14   scope of his employment at the time of the incident on which the claim is based. 28
15   U.S.C. § 2679(d)(2). Once certification is made, the Federal Employees Liability Reform
16   and Tort Compensation Act (“FELRTCA”), more commonly known as the “Westfall
17   Act” requires the substitution of the United States as the defendant. 28 U.S.C. §
18   2679(b)(1); see also Green v. Hall, 8 F.3d 695, 698 (9th Cir. 1993). “Under the terms of
19   FELRTCA, the substitution of the United States leaves the plaintiff with a single avenue
20   of recovery, the Federal Tort Claims Act (‘FTCA’), 28 U.S.C. §§ 1346, 2671 et seq.”
21   Green, 8 F.3d at 698.
22         The United States has thus been substituted as the defendant for Plaintiffs’ state
23   law claims against Agent Zellhart (Count IV (conversion and trespass to chattels), Count
24
25
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                                                  14
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 1   VI (negligence), (Count VII) (breach of bailment)2, and Count X (Bane Act) 3). Under
 2   the Westfall Act and the FTCA, the United States is the only proper defendant for such
 3   non-constitutional tort claims based on allegedly wrongful acts that a federal employee
 4   allegedly committed within the scope of her employment. See Lance v. United States, 70
 5   F.3d 1093, 1095 (9th Cir. 1995). Insofar as the Plaintiffs’ FAC assert state law claims
 6   against Agent Zellhart in her individual capacity, pursuant to the United States’
 7   subsequent substitution as the defendant under 28 U.S.C. § 2679(d)(2), those claims do
 8   not apply to Agent Zellhart.
 9         E.     The FAC’s Eleventh Cause of Action Should Be Dismissed
10         The last claim for relief, “Count XI: As-Applied Deprivation of Property Without
11   Due Process of Law Under the Fifth Amendment Due Process Clause,” does not ask for
12   any monetary or declaratory relief, but simply is a legal argument challenging whichever
13   law might prevent Plaintiffs’ claims. The claim should be dismissed for failure to state
14   upon which relief can be granted, as it does not constitute a cause of action at all. To the
15   extent this claim is construed as a Bivens claim against Agent Zellhart for Fifth
16   Amendment violations, this claim is subject to dismissal for the same reasons why
17   Plaintiffs’ Fourth Amendment Bivens claims fail. See Section III.A, supra.
18   IV.   CONCLUSION
19         For the foregoing reasons, the claims against Agent Zellhart should be dismissed
20   with prejudice.
21
22         2
              Plaintiffs also fail to plead an actionable breach of bailment claim against Agent
     Zellhart as there is no bailment relationship between her and the Plaintiffs. “A seizure,
23   essentially by definition, lacks mutual intent. Thus, as the government correctly points
     out, a seizure pursuant to the government’s authority…generally will not give rise to an
24   implied-in-fact bailment contract.” Kam-Almaz v. United States, 682 F.3d 1364, 1369
     (Fed. Cir. 2012).
25          3
              Plaintiffs cannot bring their Fourth Amendment claim under the guise of the
     Bane Act. See Blanchard v. County of Los Angeles, 2022 WL 17081308, at *3 (C.D. Cal.
26   Aug. 25, 2022). Moreover, Plaintiffs have failed to state a claim under the Bane Act
     against Agent Zellhart as Plaintiff has not plead any use of “threats, intimidation or
27   coercion.” Price v. Peerson, 2014 WL 12579814, at *3 (C.D. Cal. Feb. 12, 2014). To the
     contrary, Plaintiffs allege that the FBI seized the contents of the safe deposit box in a
28   warrant operation that was executed at a business in a strip mall.
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15   contains 5,113 words, which complies with the word limit of this Court’s Standing
16   Order.
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